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              RICHARD M KIPPERMAN
          1   Trustee of the Copeland Liquidating Trust
              P,O. Box 3010
       2      La Mesa. CA91944-3010
              Phone: Gtgl668-4500
       3      Fax: iotqi 668-9014
              E-Mail :'rmk@corpmgt.com
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       8                          UNITED STATES DISTRICT COURT
       9                        CENTRAL DISTRICT OF CALIFOR}IIA
      IO                         WESTERN DIVISION - LOS ANGELES
     11
        SECURITIES AND EXCHANGE                       Case No. I l-08607-R-DTB
     t2 COMMTSSION,
     13                  Plaintiffl                   LIOUIDATING TRUSTEE'S F'INAL
                                                      REPORT AND FINAL
     l4            v.                                 ACCOUNTING RE
                                                      ADMINISTRATION OF THE
     15       CHARLES P, COPELAND,                    COPELAND LIQUIDATING TRUST
              COPELAND WEALTH
     16 MANAGEMENT. A FINANCIAL
        A-DVISORY CORPORATION, and                    Date: June 18, 2018
     l7 COPELAND WEALTH                               Time: l0:00 a.m.
        MANAGEMENT, A REAL ESTATE                     Ctrm: 8. 2nd Floor
     18       CORPORATION;                            Judge: Hon, Manuel L. Real
     l9                  Defendants.
     20

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     22

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                                                            LIQUIDATING TRUSTEE'S FINAL REPORT
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       I          Richard M Kipperman, the Court appointed Trustee for the Copeland
       2   Liquidating Trust ("Trustee") hereby submits his Liquidating Trustee's Final Report
       3   and Final Accounting Re Administration of the Copeland Liquidating Trust ("Final

       4   Report"),
       5                         I.     REPORT ON ADMINISTRATION
       6   Appointmen t of Trustp.e:
       7         On October 18, 201 I the Securities and Exchange Commission filed              a

       8   complaint against the above captioned defendants alleging violation of the Federal
       9   Securities Law. In connection with the action, the Court appointed Thomas C.
      l0 Hebrank       as the Court-appointed receiver   for Copeland Wealth Management,            a

      ll   Financial Advisory Corporation, Copeland Wealth Management, a Real Estate
      t2 Corporation, and their subsidiaries and affiliates ("Hebrank Receivership"). In the
      l3 course of the administration of the Hebrank Receivership it was determined that it
      t4 would be appropriate to create a Liquidating Trust Agreement and appoint              a Trustee

      15   of the Liquidating Trust Agreement for the purpose of administering receivership
      16   assets and distributing them to beneficiaries.

      t7         On June     ll,2014 the Court issued its order appointing the Trustee as the
      18   Liquidating Trustee for Copeland Wealth Management,           a   Financial Advisory

     l9 Corporation, Copeland Wealth Management,               a Real Estate   Corporation, and their

     20 subsidiaries and affiliates. The Trustee was vested with the duties, rights and

     2l powers     set forth in the Copeland Liquidating Trust Agreement "(Liquidating

     22 Trust").

     23 Employment of Attornev and Acco.ltptan[:
     24      The Trustee was authorized to employ, and employed the law firm of

     25    Mulvaney Barry Beatty Linn & Myers LLP ("Mulvaney") as counsel for the Trustee
     26 in the Trustee's administration of matters under the Trust.

     27          The Trustee was authorized to employ, and employed the accounting firm                 of
     28 Lavine Lofgren Morris         & Engelberg LLP ("Lavine")      as accounts    for the Trust.

                                                                   LIQUIDATINC TRUSTEE'S FINAL P€PORT
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       I   Ad miEls.f rA t!g.n of Liq uid atine Trust   :


       2          The duties of the Trustee under the Liquidating Trust were primarily           to: (a)
       J   collect payments on existing settlements for notes receivable and other collection
       4   matters, (b) prosecute and enforce judgments, (c) defend the Tri Tool appeal, (d)
       5   administer the tr;ust assets, and (e) distribute the trust assets to the beneficiaries,
       6          The Trustee was tasked with collecting monthly payments that were owed to

       7   the receivership that existed prior to, and were terminated upon, the appointment          of
       8   the Trustee.
       9         The Trustee was tasked with pursuing efforts to collect on judgments from

      10   debtors owing money to the receivership in a lawsuit pending in Riverside Superior
      il   Court and San Bemardino Superior Court.
      12         The Trustee was tasked with defending against two separate appeals filed in
      l3 the United    States Court of Appeals for the Ninth Circuit, one filed by         Tri Tool (Case
      t4 No. 14-552aQ; and the other filed by limited partners of Copeland Properties              18, LP

      15   (Case No. l4-56086).

      t6         The Trustee was tasked with enforcing            a   judgment obtained by the Receiver

      t7 against Stauffer's Landscape, Inc. in San Bernardino Superior Court.
      18         With the appointment of the Trustee, the Hebrank Receivership liquid             assets

      T9   were transferred to the Trustee, The Hebrank Receivership liquid assets so

     20 transferred were as fo[[ows;

     2T
           Bank Accounts;
     22
                                Copeland   Realty Inc.                     $ 645,103.61
     23                         Copeland   Properties l8 LP                $  20,595.01

     24
                                Copeland   Fixed Income I                  $   9,309,2r
                                Copeland   Fixed Income II                 $  67,933,10
     25                         Copeland   Fixed Income III                $  80,303,72

     26

     27 During the course of the administration of the Liquidating Trust, the Trustee learned

     28 that there was a discrepancy in tax identification numbers used by the defendant for

                                                                        LIQUIDATTNG TRUSTEE'S FINAL REPORT
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       1   two different entities. The defendant used the same tax identification number for
       2 two different entities, Copeland Realty Inc., and Copeland Wealth Management          A
       1   Real Estate Corporation. The discrepancy appeared to have affected the filing of tax

       4   returns for the tax years 2011 through2016. The state and federal tax filing issues

       5   were addressed as were resulting tax liabilities and tax penalties. The Copeland
       6   Realty Inc, account should have been identified and reported on as "Copeland
       7   Wealth Management A Real Estate Corporation". The Trustee made the appropriate
       8   changes and the final accounting below reports on the Copeland Realty Inc. account

       9 as "Copeland Wealth Management         A Real Estate Corporation (Formerly identified
      l0   as Copeland   Realty Inc.)".
      ll         The Trustee collected all payments due on the settlement agreements in

      T2   Bobby Bhasker-Rao, Venkatasvara Rao, and Vellore Muraligopal as reflected in the
      13   final accounting below.
      t4         The Trustee entered into and collected on a settlement agreement with debtor

      t5 Samuel Gregory to satisfy payments due on a defaulted loan with Copeland Fixed
      t6 Income III   as   reflected in the final accounting below. The Trustee entered into and
      17   collected on a settlement agreement with Serenity as reflected in the final

      l8 accounting below.
      19         Tri Tool exhausted its appeal rights and the appeal by the limited parlners of
     20 Copeland Properties 18 LP was transferred to a Receiver in Kentucky terminating

     2l the Trusteens task of defending     against these two appeals filed in United States

     22 Court of Appeals for the Ninth Circuit.

     23          The Trustee abandoned the judgment he was tasked in pursuing against

     24 Stauffer's Landscape, Inc. after learning Stauffer's Landscape, lnc. filed a chaptet 7

     25    bankruptcy and after determining the judgment had no value.
     26          During the course of the administration of the Trust, the Trustee and the
     27 Trustee's attorneys were presented with a subpoena issued by Grover L. Porter,

     28 attorney for Charles Copeland in the matter People .of the State of California v.
                                                               LIQUIDATING TRUSTEE'S FINAL REPORT
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       1    Charles Copeland. San Bemardino County Superior Court Case No. FWV 1502501.
       ,,
            The Subpoena was extensive, requesting documents and records relating to various
       J    Copeland entities and requiring the Trustee, the Trustee's office, and the Trustee's
       4 attorneys to devote substantial time and resources to its compliance.

       5    Interim Distribution:
       6          During the administration of the Liquidating Trust, the Trustee made   a

       7    distribution to claimants pursuant to the Court's August lI,2AL6 Order. As
       8    reflected in the final accounting below for the account Copeland Wealth
       9    Management A Real Estate Corporation (Formerly identified as Copeland Realty
      t0 Inc.), the distribution was made from the former Copeland Realty Inc. account with
      l1 contributions to that account from the Copeland Properties l SLP account, the
      t2 Copeland Fixed Income II account, and the Copeland Fixed Income III account.
      l3 Termination of the Liquidatine Trust:
      l4      The Trustee has administered the Liquidating Trust and the tasks charged of

      l5 the Trustee to completion and to the point where the LiquidatingTrust is positioned
      t6 to: make final fee and cost payments to the Trustee, the Trustee's attorneys, and to
      17 the Trustee's accountants;   to make a final distribution to the claimants of the

      l8 Liquidating Trust; and, terminate the Liquidating Trust.
      t9                               rI.    FINAL ACCOUNTING
     20                           (JUNE   ll,20l4 THROUGH MAY 14, 2018)
     2l           Upon appointment, the Trustee received the following liquid funds from the
     22 Hebrank Receivership:

     23
            Bank Accounts:
     24
                               Copeland   Realty Inc.             $ 645,103.61
     25                        Copeland   Properties 18 LP        $ 20,595.01
     26
                               Copeland   Fixed Income I          $ 9,309.21
                               Copeland   Fixed Income II         $ 67,933.10
     27                        Copeland   Fixed Income III        $ 80,303.72
     28

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       I   The Trustee opened bank accounts for the funds and during the administration of the

       2   Liquidating Trust, the Trustee received funds and made disbursements/distributions
       3   therefrom as summarized below:
       4                 COPELAND WEAL TH MANAGEMENT A REAL ESTATE
                                        CORPORATION
       5                           (Formerly Identifred as Copeland Realty Inc.)
       6                               June 11,2014 Through May 14,2018

       7
           Beginning Balance:
       8

       9    1,      Receiver Fund Turnover 812012014                               $645,103.61

      l0
           Receipts:
      ll
      12   I        Calif Sleep Lease Pmnts                      $10,250,00
           2        B.S, Bhasker-Rao Lease Payment                 6,000.00
      l3
           J        Charles Schwab                                 1,309.32
      t4   4        Serenity Dori Lalanne Settlement Pmnts         1,000.00
      l5   5        Copeland Properties 18 LP                     13,175.74
                    Fund Interim Distribution
      16
           6        Copeland Fixed Income II                      38,799.50
      l7            Fund Interim Distribution and Close
      l8            Copeland Fixed Income II Acct
           7        Copeland Fixed Income III                    r48,502.61
      l9
               Fund Interim Distribution
     20    8.  St of Calif Tx Rfnd Copeland ProP 9                     218,08
     2T    9.  St of Calif Tx Rfnd Copeland Fixed I                    800.00

     '))   10 Trans from Copeland Properties 18 LP                 5,815,27
               Close Copeland Properties l8 LP Acct
     23
           I   l.
               Trans from Copeland Fixed Income I                  7   ,709,21
     24        Close Copeland Fixed Income I Acct

     25
           12. Trans from Copeland Fixed Income III                4,796,76
               Close Copeland Fixed Income III Acct
     26

     27    Total Receipts:                                                         s238,376.49

     28
                                                              LIQUIDATING TRUSTEE'S FINAL REPORT
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       1
           Disbursem_eqts.;

       2
           l.       Kohut Family Trust - Initial Distrib   $      I 10,898.1 I
       3            Reissuance of Rcvr Distrib Check

      4
                    Returned after Rcvr Funds Trans to
                    Trustee of Liquidating Trust
      5
           2.       Mulvaney Bany - Attorney Fees                226,383.51
      6    3,       Lavine Lofgren - Accountant Fees              84,610.00

      7
           4,       Richard M Kipperman - Trustee                 88,757,47
           5.       California Franchise Tax Board                23,366,78
      8
           6,       Calif Sleep Refund of Overpayment                750.00
      9    7,       Disbursements to Claimants                   2A0,477.85

     10    8.       JAG Investigations - Claimant Search           1,034.50
           9.       Bank Fees                                         70.00
     l1                                                            tr,782,00
           10.      Kentucky State Treasurer - Taxes
     T2    1   l.   Lexington-Fayette Urban Cnty' Taxes            14,547,00

     13
           12,      Fayette Cnty PS - Taxes                         3,232.00
           13.      Fed-Ex                                             2l,80
     I4
     l5    Total Disbursements:                                                   $765,931.02

     t6
           Ending Cash Balance 5lt4l20l8                                          $117,549.08
     t7
     l8
     t9                               COPELAND PORPERTIES 18 LP
                                      June I1,2014 Through MaY 14,2018
     20

     2l    Beginning Balancel
     22
           1.       Receiver Fund Turnover 812012014                              $ 20,595.01
     23

     24    Receipts:
     25
           1.       None                                   s
     26

     27    Total Receipts:                                                        $

     28

                                                               LIQUIDATINC TRUSTEE'S FINAL REPORT
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          I   Disbursements:

       2
              1.   North Carolina Department of Revenue       $        4.00
       3      2.   California Franchise Tax Board                  1,600.00

      4       3.   Copeland Wealth Mgmnt Acct To                  13,175.74
                   Fund Interim Distribution
       5
                   Trans To Copeland Wealth Mgmnt
      6       4,   Acct                                            5,815,27
                   To Close Copeland Prop 18LP Acct
      7

      8       Total Disbursements                                             $   20,595,01
      9
              Ending Cash Balance 5/1412018                                   $
     l0
     ll
     t2                               coPELANp FIXEp TNCOM4 I
                                     June 1I,2Al4 Through May 14, 2018
     13

     t4       Beginning Balance:
     15

     16
              1.   Receiver Fund Turnover 812012014                           $    9,309.2r

     t7       Recejpts:
     18

     t9
              L    None                                   $


     20       Total Receipts:                                                 $

     21
              Disburseme0ls:
     22

     23       1.   California Franchise Tax Board         $       1,600.00
     24       2.   Trans to Copeland Wealth Mgmnt Acct            7,709.21
                   Close Copeland Fixed Income I Acct
     25

     26       Total Disbursements:                                            $   9,309.21
     27
              Ending Cash Balance 5/1412018                                   $
     28

                                                          LIQUIDATING TRUSTEE'S FINAL REPORT
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       I
                                     COPELAND FIXED INCO.ME II
                                    June 11,2014 Through May 14,2018
       2

       J   Beginning Balance:
       4
           1.   Receiver Fund Turnover 812012014                             $ 67,933. l0
       5

       6   Receipts:
       7
           1.   None                                     $
       8

       9   Total Receipts:                                                   $

      l0
           Disbursenlents:
      11

      t2   1,   A Nong & N Nguyen TTEE PEN                   $   27,533.60

      l3        Reissuance of Rcvr Distrib Check
                Returned after Rcvr Funds Trans to
      14
                Trustee of Liquidating Trust
      l5   2,   California Franchise Tax Board                    1,600.00

      16
           3.   Copeland Realty Inc Acct                         38,799.50
                For Interim Distribution and to Close
     17
                Copeland Fixed Income II Acct
     18

      t9   Total Disbursements                                               s   67,933.10

     20
           Ending Cash Balance 5ll4l20l8                                     $
     2I
     22
                                    coPELANp FIXEp INCOME .III
     23                            June 11,2014 Through May 14,2018
     24
           Beeinninq Balapce:
     25

     26
           l.   Receiver Fund Turnover 812012014                             $   80,303.72
     27

     28

                                                         LIQUIDATING TRUSTEE'S FINAL REPORT
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       I    Receipts:

       1
            L    V Muraligopal CP l3 Settlement Pmnts          $    24,375.69
       3    2,   S Gregory Settlement Pmnt                          56,252.15

       4
            Total Receipts:                                                       $    80,627.84
       5

       6    Disburseme.nts:
       7
            1,   M. Perez Estrada Fixed III Distrib           $      3,663,99
       8
                 Reissuance of Rcvr Distrib Check
       9         Returned after Rcvr Funds Trans to
      l0         Trustee of Liquidating Trust
         2,      California Franchise Tax Board                      1,600.00
      ll 3.      V. Muraligopal Refund of Overpayment                2,368,20
      l2 4.      Copeland RealtY Inc Acct                          t48,502,6r
      13
                 For Interim Distribution
            5.   Trans to Copeland Wealth Mgmnt Acct                 4,796,76
      t4         Close Copeland Fixed Income III Acct
      15
            Total Disbursements:                                                  $   160,931.56
      t6
      17
            Ending Cash Balance    5ll4l2Al8                                      $
      l8         Detailed descriptions of the above summary accountings for the Copeland
      19
           Wealth Management a Real Estate Corporation account (Formerly Identified        as

      20
           Copeland Realty Inc.); the Copeland Properties 18LP account; the Copeland Fixed
      2I Income I Account; the Copeland Fixed Income II accounti md, the Copeland Fixed
      22 Income    III account for the period from the appointment of the Trustee herein on
      23                           April 20,2018   are contained on the attached Cash Receipts
           June 1 1,2014 through
      24 alrd Disbursemq0t Record, attached hereto and incorporated herein as Exhibit A.

      25

      26

      27

      28
                                                              LIQUIDATING TRUSTEE'S FINAL REPORT
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          I                      III.   FEE AND COST RECONCILIATION
       ,)
                     In connection with the administration of the Liquidating Trust, the Trustee
       3      has incurred fees and costs as reported and detailed in the Trustee's fee applications

       4 previously filed and approved by the Court. The Trustee has submitted a final fee

       5      application to the Court with this Final Report and the motion to approve this Final
       6 Report,

       7            As noted above, the Trustee was authorized to employ Mulvaney as legal
       8      counsel for the Trustee and the Liquidating Trust herein, and, the Trustee was

       9 authorized to employ Lavine as the accountants for the Trustee and Liquidating

      l0 Trust herein. Mulvaney         and Lavine incurred fees and costs as reported and detailed

      1l in the fee applications previously filed and approved by the Court. Mulvaney and
      l2 Lavine have submitted their final fee applications to the Court with this Final Report
      l3 and the motion to approve this Final Report.
      r4            In approving the previously filed fee applications of the Trustee, the fees and
      15      costs of the Trustee were approved with the direction that 80% of the fees as

      L6      approved would be paid; 20% of the fees as approved would be held-back from
      T7      payment; and, 100% of the costs as approved would be paid.

      18            In approving the previously filed fee applications of Mulvaney, the fees and
      19 costs     of Mulvaney were approved with the direction thatS}Yo of the fees       as

      20 approved would be paid; 20Yo of the fees as approved would be held-back from

      2l payment; and, 100% of the costs as approved would         be paid.

      22            In approving the previously filed fee applications of Lavine, the fees and costs
      23      of the Lavine were approved with the direction that I00% of the fees as approved
     24 would be paid and 100% of the costs as approved would be paid, There was no

     25       hold-back applied to Lavine's fees.
     26             Attached hereto as Exhibit B is a reconciliation of the fee and cost

     27 applications of the Trustee, Mulvaney, and Lavine which includes detail of the

     28 reserve (20% hold-back amount applied to prior approved Trustee fees and

                                                                 LIQUIDATING TRUSTEE'S FINAL REPORT
                                                       -   l0-
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       1   Mulvaney fees) plus closing fees and costs due to the Trustee, Mulvaney and
       2   Lavine, less discounts proffered by the Trustee and Mulvaney. The reserye, closing
       3   fees and costs due to the Trustee, Mulvaney, and Lavine and any proffered discounts

       4 are further detailed in the final fee applications submitted with this Final Report.

       5         The final fee applications of the Trustee, Mulvaney, and Lavine represent

       6   services rendered since the frling of the last fee application with the court and

       7   include services yet to be rendered in connection with closing out the administration

       8   of the Liquidating Trust, which services include services to be rendered to finalize
       9   distributions to claimants, services to finalize tax returns, and services to close out
      10   the Liquidating Trust. The fees and costs for the services yet to be rendered are
      1l included in the final fee applications submitted herewith. Trustee requests that the
      T2   Trustee be directed to pay approved final fee application fees and costs of the

      l3 Trustee, Mulvaney, and Lavine at the rate of I00% of the amount of the approved
      t4 final fees and costs.
      15

      l6                                      IV. CONCLUSION
      t7         The Trustee has worked diligently and efficiently in fulfilling his duties and

      l8   has provided valuable service in that regard. Based on the foregoing Final Report

      t9 and on the motion and declaration of the Trustee filed herein in connection with the
      20 approval of this Final Report, the Trustee requests the Court approve this Final

      2I Report.
      22

      23
           Dated:
                    lq   fu\',
      24                                              By
      25                                                     Trustee
      26

      27

      28

                                                                 LIQUIDATING TRUSTEE'S FINAL REPORT
                                                     -l l-
